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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,           §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
THE PROCTER & GAMBLE COMPANY §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this Complaint

against The Procter & Gamble Company (“Defendant” or “PG”) for infringement of United

States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752 Patent,”

“the ‘369 Patent,” and “the ‘190 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant is a corporation organized and existing

under the laws of the State of Ohio, with its principal place of business at One Procter & Gamble




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Plaza, Cincinnati, OH 45202.

       5.         This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in the state of Texas, has conducted

business in the state of Texas, and/or has engaged in continuous and systematic activities in the

state of Texas.

       6.         Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                               VENUE

       7.         Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendant is deemed to reside in this District. In addition, and in the

alternative, Defendant has committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       8.         Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.         This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.        Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to enforce

the ‘752 Patent and sue infringers.

       11.        A copy of the ‘752 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

       12.        The ‘752 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       13.        Upon information and belief, Defendant has infringed and continues to infringe



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one or more claims, including at least Claim 1, of the ‘752 Patent by making, using, and/or

printing Quick Response Codes (QR codes) covered by one or more claims of the ‘752 Patent.

Defendant has infringed and continues to infringe the ‘752 Patent either directly or through acts

of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       14.     On information and belief, Defendant has, at least through internal testing, made,

used, and/or printed QR codes on printed and/or electronic media, including advertising and

packaging, associated with select products and/or services. One specific example of Defendant’s

activity involves the use of QR codes on packaging associated with its Downy products

including, without limitation, Downy UNSTOPPABLES™. A user scanning the QR Code is

provided with information about the product including, for example, product specifications and

purchase information. Upon being scanned, the QR code remotely transmits information

regarding the product to the user via a device, such as a smart phone, for example. The use of

QR codes in this manner infringes at least Claim 1 of the ‘752 Patent.

       15.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       16.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       17.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       18.     Plaintiff incorporates paragraphs 1 through 17 herein by reference.

       19.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.



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       20.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to enforce

the ‘369 Patent and sue infringers.

       21.     A copy of the ‘369 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

       22.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       23.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘369 Patent by making, using, and/or

printing Quick Response Codes (QR codes) covered by one or more claims of the ‘369 Patent.

Defendant has infringed and continues to infringe the ‘369 Patent either directly or through acts

of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       24.     On information and belief, Defendant has, at least through internal testing, made,

used, and/or printed QR codes on printed and/or electronic media, including advertising and

packaging, associated with select products and/or services. One specific example of Defendant’s

activity involves the use of QR codes on packaging associated with its Downy products

including, without limitation, Downy UNSTOPPABLES™. A user scanning the QR Code is

provided with information about the product including, for example, product specifications and

purchase information. Upon being scanned, the QR code remotely transmits information

regarding the product to the user via a device, such as a smart phone, for example. The use of

QR codes in this manner infringes at least Claim 1 of the ‘369 Patent.

       25.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       26.     Defendant’s actions complained of herein are causing irreparable harm and




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monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       27.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       28.     Plaintiff incorporates paragraphs 1 through 27 herein by reference.

       29.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       30.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to enforce

the ‘190 patent and sue infringers.

       31.     A copy of the ‘190 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       32.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       33.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘190 Patent by making, using, and/or

printing Quick Response Codes (QR codes) covered by one or more claims of the ‘190 Patent.

Defendant has infringed and continues to infringe the ‘190 Patent either directly or through acts

of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       34.     On information and belief, Defendant has, at least through internal testing, made,

used, and/or printed QR codes on printed and/or electronic media, including advertising and

packaging, associated with select products and/or services. One specific example of Defendant’s

activity involves the use of QR codes on packaging associated with its Downy products

including, without limitation, Downy UNSTOPPABLES™. A user scanning the QR Code is



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provided with information about the product including, for example, product specifications and

purchase information. Upon being scanned, the QR code remotely transmits information

regarding the product to the user via a device, such as a smart phone, for example. The use of

QR codes in this manner infringes at least Claim 1 of the ‘190 Patent.

          35.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          36.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          37.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled under




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law or equity.




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Dated: November 25, 2015            Respectfully submitted,



                                    /s/ Jay Johnson
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                              EXHIBIT A
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                                EXHIBIT B
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                               EXHIBIT C
